
The PRESIDENT.
The court are of
opinion, that the judgment of the County Court is erroneous, in admitting the appel-lee, to give evidence of a parol gift of the slaves in dispute, supposed to have been made by Joseph Turner, the father, to his son Sampson Turner, the testator of the appellee; since if such gift had been really made, it being subsequent to the year 1758, no estate in the slaves passed to the said Sampson thereby, for want of a deed, or will in writing, according to the act of Assembly, passed in the year 1758, intituled, “an act to prevent the fraudulent gifts of slaves.” And although it should appear, that the gift in this case was such, as was meant to be declared valid, either by the act passed in the year 1785 intituled, iuan act to prevent frauds and perjuries,” or the act passed in the year 1787, intituled, “an act to explain and amend the acts for preventing -fraudulent gifts of slaves;” yet nevertheless, the proof in the present case, was inadmissible, and the gift void; both of those acts, being prospective in their operation, and not retrospective of cases happening before; especially as to this supposed gift, on which the suit was commenced in 1783.
The judgment of the District Court is therefore erroneous, and must be reversed. The judgment of the County Court must also be reversed, the verdict set aside, and a new trial awarded; upon which, no evidence is to be admitted, to prove a gift of the slaves in dispute, except a deed in writing, or last will as the said act of 1758 required. _
